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                                                                                    United States Bankruptcy Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                      IN THE UNITED STATES BANKRUPTCY COURT                               January 12, 2023
                        FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

  IN RE:                                          §
                                                  §
  1960 FAMILY PRACTICE, PA                        §        CASE NO. 20-35493
        DEBTOR                                    §        (Chapter 7)
                                                  §



                  AGREED ORDER RESOLVING OBJECTION TO CLAIM
                             (Relates To ECF No. 106)

 By agreement of the Parties, it is
        ORDERED that the Proof of Claim No. 41 filed by WFCM 2016-C34 Northwest Freeway,
 LLC (“WFCM”) is an allowed unsecured claim in the total amount of $950,000.00 (“Allowed
 Claim”), and it is further.
        ORDERED that except as provided in this Agreed Order, the Parties are estopped from
 challenging the merits or the amount of the Allowed Claim in any pending or future proceedings.
        Notwithstanding the above, it is further ORDERED that this Agreed Order is without
 prejudice, and shall not be subject to res judicata or collateral estoppel, with respect to Doctors
 Hospital 1997 d/b/a United Memorial Medical Center’s (“UMMC”) current affirmative defenses
 in Adversary No. 22-03126 which include: (1) Mistake, (2) Impossibility of Performance, and
 (3) Failure to Mitigate Damages.


 Dated:January
Signed: __________
               12, 2023

                                              ______________________________________
                                                   _________________________________
                                              UNITED STATES BANKRUPTCY COURT
                                                              Eduardo V. Rodriguez
                                                                  Chief Judge
                                                         United States Bankruptcy Court
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AGREED AS TO FORM AND CONTENT:

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NORTHWEST FREEWAY, LLC
AND AS SUCCESSOR IN INTEREST
TO CYPRESS MOB, LLC
